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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND
                          (Greenbelt Division)


 KILMAR ARMANDO ABREGO
   GARCIA, et al.,

 Plaintiffs,
                                             No. 8:25-cv-00951-PX
                   v.

 KRISTI NOEM, Secretary of
   Homeland Security, et al.,

 Defendants


                  NOTICE OF EX PARTE SUBMISSION
      Defendants provide Notice that Defendants submitted today’s daily

status report to the Court confidentially and under seal for in camera review.

                                       Respectfully submitted,

                                       Yaakov M. Roth
                                       Acting Assistant Attorney General
                                       Civil Division

                                       /s/ Drew Ensign
                                       Drew C. Ensign
                                       Deputy Assistant Attorney General
                                       Civil Division
                                       U.S. Department of Justice
                                       950 Pennsylvania Ave., NW
                                       Washington, DC 20530
                                       (202) 514-2000
                                       drew.c.ensign@usdoj.gov

                                       Ernesto Molina
                                       Deputy Director
      Dated: April 22, 2025            Office of Immigration Litigation

                                       Counsel for Defendants
